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 Fill in this information to identify the case:

 Debtor 1                  Herman G Lucas

 Debtor 2
 (Spouse, if filing)

 United States Bankruptcy Court for the:                District of Maryland
                                                                 (State)
 Case number               24-11842




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                      12/16
If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

                                                                                  Court claim no. (if
 Name of creditor: PNC Bank, National Association                                 known):                                  3-1

 Last 4 digits of any number you use to
 identify the debtor’s account:   XXXXXX5696

 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?

       No
       Yes. Date of the last notice:


 Part 1: Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously
 approved an amount, indicate that approval in parentheses after the date the amount was incurred.

     Description                                                 Dates incurred                                        Amount
  1. Late Charges                                                                                                (1)   $
  2. Non-sufficient funds (NSF) fees                                                                             (2)   $
  3. Attorney fees                                                                                               (3)   $
  4. Filing fees and court costs                                                                                 (4)   $
  5. Bankruptcy/Proof of claim fees                                 05/13/2024                                   (5)   $ 500.00
  6. Appraisal/Broker’s price opinion fees                                                                       (6)   $
  7. Property inspection fees                                                                                    (7)   $
  8. Tax advances (non-escrow)                                                                                   (8)   $
  9. Insurance advances (non-escrow)                                                                             (9)   $
 10. Property preservation expenses. Specify:                                                                   (10)   $
 11. Other. Specify: Plan Review                                    04/01/2024                                  (11)   $ 450.00
 12. Other. Specify:                                                                                            (12)   $
 13. Other. Specify:                                                                                            (13)   $
 14. Other. Specify:                                                                                            (14)   $


The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be
paid. See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.
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 Debtor 1        Herman G Lucas                                                      Case number (if known)   24-11842




Part 2:     Sign Here


The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.
Check the appropriate box.

   ❑ I am the creditor
   ☒ I am the creditor’s authorized agent.


I declare under penalty of perjury that the information provided in this claim is true and correct to the best
of my knowledge, information, and reasonable belief.


 /s/Robert A. Jones                                                                Date    5/31/2024
     Signature




Print:              Robert A. Jones                                                 Title    Attorney for Creditor
                   First Name               Middle Name      Last Name



Company             Samuel I. White, P.C.


Address             448 Viking Drive Suite 350
                   Number             Street


                    Virginia Beach, VA 23452
                   City                                      State       ZIP Code


Contact phone       (757) 490-9284                                                  Email    rjones@siwpc.com




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                                      CERTIFICATE OF SERVICE
        I certify that on May 31, 2024, the foregoing Notice was served via CM/ECF on Rebecca A. Herr,
Trustee, and Francis H. Koh, Counsel for Debtor, at the email addresses registered with the Court, and that a
true copy was mailed via first class mail, postage prepaid, to Herman G Lucas, Debtor, 2005 Peabody Street,
Hyattsville, MD 20782.

                                                     /s/Robert A. Jones
                                                     Robert A. Jones, Esquire
                                                     Samuel I. White, P. C.
